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           UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLUMBIA

                                Civil Action No. 21-cv-01131-TJK

                   MAN AGAINST XTINCTION as Citizen Attorney General

                                                  v.

                          MICHAEL PENTONY, ET AL. as DefendantS

                                  22 February 2022
     _________________________________________________________________________

            MAN AGAINST XTINCTION TO JUDGE KELLY: “GO TO HELL” FN1
                 _________________________________________________

         The Citizen Attorney General — Man Against Xtinction — SPEAKS.

         As a Citizen of the United States – I guess even for some illegal alien in the USA selling
other illegal aliens as sex slaves to the highest bidding shyster – I have the First Amendment
protected authority to talk to any government employee I damn well want to talk to any time I
want to do it. There is no written law of any kind that says I lose that protection just because I
petition US District Court in order that I can prosecute government employees who are engaged
in the criminal conduct of killing ESA Listed Species. Just like these defendants.

           Yesterday Judge Kelly issued an order over the ECF that stated –

         “[I]t is FURTHER ORDERED that Plaintiff shall not direct communications about
          this case to any official or individual employed by a represented Defendant.
          Plaintiff may, of course, contact counsel for any Defendant, as appropriate. Signed
          by Judge Timothy J. Kelly on 2/21/2022.”

         I do not see any basis for him even issuing this order. I see nothing on the record where
some shyster claiming to represent one of the criminal defendants complained to Kelly that I was
directly communicating with one of their clients. Even if s shyster made such a complaint, “who
cares?” I am sure their client is fully capable of deciding for itself whether or not it wants to talk
to me or anyone else.




1
    The instant petition is brought pursuant to M.A.X’s First Amendment’s protected authority to
    petition the Court.
          Case 1:21-cv-01131-TJK Document 70 Filed 02/22/22 Page 2 of 2
22 February 2022 “Go to Hell Judge Kelly”


       The only reasonable way I can interpret the breadth of the subject matter of this order is
that Kelly is ordering me not to talk to any NOAA or WINGO employee about anything to do
with endangered whales and sea turtles. Considering that I need to do so as a recovery agent for
endangered whales and sea turtles, and that the defendants are the #1 murders of endangered
whales and sea turtles, I can state in affirmative that my compliance with this order is not going
to happen. I can also state that I have zero interest in talking to their worm tongued shysters. I am
never going to do so willingly in the course of these proceedings.
   So, my response to Judge Kelly’s order is a simple and yet respectful one.
   You can go to Hell judge Kelly if you believe that I will comply with your unconstitutional
act of bigotry towards me, a pro se petitioner seeking to stop endangered wildlife from being
murdered by corrupt government and WINGO employees.
   Have a nice day.

   BY:

       /s/ Richard Maximus Strahan
       ________________________
       Richard Maximus Strahan as Man Against Xtinction
       Citizen Attorney General
       83 Main Street, 6080 GSS
       Durham NH 03824
       617-817-4402
                            _______________________________

                                  CERTIFICATE OF SERVICE
                               _______________________________

       I hereby certify that a copy of this document has been served VIA the ECF filing system
       on this date.

       _________________________
       Richard Max Strahan, Citizen Attorney General
